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 1   Marc M. Seltzer (54534)                     Howard Langer (Pro Hac Vice)
     mseltzer@susmangodfrey.com                  hlanger@langergrogan.com
 2   SUSMAN GODFREY L.L.P.                       LANGER GROGAN AND DIVER
     1900 Avenue of the Stars, Suite 1400        PC
 3   Los Angeles, CA 90067-6029                  1717 Arch Street, Suite 4020
     Phone: (310) 789-3100                       Philadelphia, PA 19103
 4   Fax: (310) 789-3150                         Tel: (215) 320-5660
                                                 Fax: (215) 320-5703
 5   Scott Martin (Pro Hac Vice)
     smartin@hausfeld.com
 6   HAUSFELD LLP
     33 Whitehall Street, 14th Floor
 7   New York, NY 10004
     Tel: (646) 357-1100
 8   Fax: (212) 202-4322
 9
     [Additional Counsel on Signature Page]
10
     Plaintiffs’ Co-Lead Counsel
11

12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14

15
     IN RE: NATIONAL FOOTBALL                 CASE NO.: 2:15-ml-02668−PSG (SKx)
16   LEAGUE’S “SUNDAY TICKET”
     ANTITRUST LITIGATION                     CLASS ACTION
17

18
     THIS DOCUMENT RELATES TO ALL             PLAINTIFFS’ MOTION TO
19   ACTIONS                                  ADMIT EXHIBITS DISCUSSED
                                              BY DR. RASCHER DURING HIS
20                                            TRIAL TESTIMONY
21
                                              Judge: Hon. Philip S. Gutierrez
22                                            Trial Date: June 5, 2024
23
                                              [TRIAL BRIEF]
24

25                                            REDACTED VERSION OF
                                              DOCUMENT PROPOSED TO BE
26                                            FILED UNDER SEAL
27

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 1          Plaintiffs move to admit into evidence the following exhibits that were
 2   discussed by Dr. Daniel Rascher during his testimony at trial:
 3   Ex.       Description                                      Defs.’ Objections
     TX047     NFL Constitution and Bylaws                      None
 4
     TX351     Media Committee Slide Deck                       None
 5   TX050     Sunday Ticket Addressable Market                 None
 6
               Deck
     TX051     NFL Digital Media, Preliminary Draft             None
 7             Deck
 8   TX672     NFL TV Deals Q&A                                 Foundation
     TX770     NFLST Insights/Research Deck                     Foundation; 801; D. MIL No. 4
 9   TX659     NFL Live Game: Rights Interest                   801
10   TX870     Sports Media Watch Article                       Foundation, 801, 802
11   These exhibits are, with the exception of TX870, internal NFL documents that were

12   produced by the Defendants and that came from the NFL’s own business records

13   and are subject to no hearsay rule. The list includes basic documents like the NFL

14   Constitution and Bylaws which have been the subject of testimony by various

15   witnesses in addition to Dr. Rascher. Their high degree of relevancy is clear.

16   Indeed, the NFL’s Constitution and Bylaws were cited by the Court in its order

17   denying Defendants’ Summary Judgment, relevant as evidence of the making of the

18   challenged agreements at the core of this case. Defendants, who never objected

19   before to the admissibility of certain of these documents, as noted above, now seek

20   to block admission of basic evidence in this case by invoking a newly-invented rule

21   that documents cannot be admitted unless witnesses discussed every page of the

22   document in question. By contrast, Defendants seek to admit their documents and

23   emails (which are hearsay) when they reflect their self-serving talking points.1

24          These exhibits are admissible and have now been used with a witness at trial,

25   ameliorating any concern by this Court that exhibits would be admitted into

26   evidence without being discussed at trial. See June 6, 2024 Hearing Transcript at

27

28   1
      The only exhibit used by Dr. Rascher that Defendants no longer object to is TX113, which
     reflects the NFL’s carefully crafted talking points. This exhibit was discussed by Dr. Rascher
     during his testimony.
                                                       1
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 1   16:13-18 (Court expressing concern about exhibits “[n]o one’s talked about in trial
 2   and then you’re trying to admit them to go back to the jury room but we’ve never
 3   discussed them in trial.”). To the extent Defendants may argue that Dr. Rascher
 4   cannot be a sponsoring witness for an exhibit, Defendants miss the point entirely.
 5   There is no “freestanding ‘sponsoring witness’ requirement in the Federal Rules of
 6   Evidence,” TEK Glob., S.R.L. v. Sealant Sys. Int’l, Inc., 2017 WL 952955, at *1
 7   (N.D. Cal. Mar. 12, 2017). These NFL documents are admissible, with or without a
 8   sponsoring witness, as (1) authentic; (2) relevant; and (3) non-hearsay. See Fed. R.
 9   Evid. 901(a); 104(b); Garber v. U.S., 2017 WL 797096, at *3 n.4 (C.D. Cal. Feb.
10   27, 2017) (describing foundation as “demonstrating that [evidence is] authentic,
11   relevant, and admissible despite being hearsay”); Bucklew v. Hawkins, Ash, Baptie
12   & Co., LLP, 329 F.3d 923, 927 (7th Cir. 2003) (explaining that “[a]dmissible
13   documents . . . do not require sponsorship” and affirming provision to jury of
14   exhibit not discussed with any witness).
15         Plaintiffs did use these exhibits with a witness, and now Defendants claim
16   that the exhibits should not be admitted because the witness did not testify about
17   every page of the documents. This makes no sense. If Defendants’ position were
18   valid, then any exhibit not “sufficiently” discussed by a witness would not be
19   admissible into evidence. There is no such rule.
20         Finally, it would be cumulative and unnecessarily waste valuable trial time to
21   require Plaintiffs to lay the foundation for and move to admit these same documents
22   (which are largely unobjected to) through the NFL’s upcoming witnesses, which
23   Plaintiffs will be otherwise constrained to do. No earthly purpose would be served
24   by requiring Plaintiffs to do so.
25         Defendants’ other remaining objections to these exhibits should be overruled
26   for the following reasons:
27

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 1   A.     Exhibits with No Objections
 2          Defendants did not object to the following exhibits when the parties
 3   exchanged exhibit lists and objections.
 4         TX351: Media Committee Slide Deck
 5         TX050: Sunday Ticket Addressable Market Deck
 6         TX051: NFL Digital Media, Preliminary Draft Deck
 7   Defendants have thus conceded that these exhibits are authentic, relevant, and non-
 8   hearsay. They should be admitted in their entirety.
 9   B.     TX047: NFL Constitution and Bylaws
10          The NFL Constitution and Bylaws was produced from the NFL’s business
11   records and Defendants made no objections to the admission of this exhibit.
12   Defendants, however, now object to admission of the NFL Constitution and Bylaws
13   and request that only portions of this exhibit that were discussed by a witness
14   during trial should be admitted. Plaintiffs are unaware of any rule or practice of
15   admitting only the portions of an otherwise authentic, relevant, non-hearsay exhibit
16   that were discussed during trial. The NFL Constitution and Bylaws is one of the
17   core documents in this case and was relied on by this Court in denying Defendants’
18   Motion for Summary Judgment. See In re National Football League’s Sunday
19   Ticket Antitrust Litig., 2024 WL 168298, at *5, *13–15 (C.D. Cal. Jan. 11, 2024)
20   (citing Article IV, Article X, 1998 Resolution BC-1, 2003 Resolution BC-1). The
21   entire NFL Constitution and Bylaws should come into evidence because it shows
22   that the teams, as independent businesses, establish the rules that they agree they
23   must follow. It also shows how the different provisions and elements of the NFL
24   Constitution work together and they specifically relate to teams’ approval of the
25   broadcasting contracts at issue in this case.
26   C.     TX672: NFL TV Deals Q&A
27          This exhibit was produced by the NFL from its business records, and the
28   metadata for this document shows that it was authored by NFL employee Katie

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 1   Goepel (the same NFL employee who circulated TX351, the Media Committee
 2   Slide Deck). See Ex. A. The only objection NFL made was to foundation, but, as
 3   discussed above, there is no sponsoring witness requirement. And, in any event, this
 4   exhibit was discussed by Dr. Rascher at trial. This exhibit is relevant not only
 5   because it was relied on by Dr. Rascher in his analysis but also because it reveals
 6   the NFL’s internal strategy with respect to the contracted restraints at issue in this
 7   case (i.e., that Sunday Ticket is
 8

 9                                                  ). It is also self-authenticating under Rule
10   901 and non-hearsay as an admission by a party opponent because, among other
11   things, it was prepared by an NFL employee during and within the scope of her
12   employment.
13   D.     TX770: NFLST Insights/Research Deck
14          This slide deck was produced by the NFL as an attachment to an email sent
15   by NFL employee Hannah Farr to NFL employee Brent Lawton. In this email, Ms.
16   Farr indicates that the slide deck was received from “the research team,” and the
17   metadata for the slide deck shows that it was authored by Kathryn Hevia, the
18   Director of Consumer Insights & Research at the NFL. See Ex. B; Ex. C. The NFL
19   objected to this exhibit on foundation and hearsay grounds.2 NFL’s hearsay
20   objection should be overruled because this slide deck was prepared by an NFL
21   employee during the course of and in the stages of her employment and is therefore
22   both a business record and a non-hearsay admission by a party opponent. The
23   NFL’s foundation objection should also be overruled because the exhibit is self-
24   authenticating under Rule 901. The exhibit is relevant because it shows that the
25   NFL knew that
26                                                                                   revealing that
27

28
     2
      Defendants’ objection on the basis of its Motion in Limine No. 4 should not be considered
     because it was made only for record preservation purposes in light of the Court’s denial of that
     motion.
                                                   4
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 1   the NFL understood that its distribution model was not satisfying consumer demand
 2   and maximizing the number of viewers of NFL game telecasts.
 3   E.    TX659: NFL Live Game: Indication of Interest
 4         This “ESPN Indication of Interest” document was produced by the NFL as an
 5   attachment to an email sent by ESPN Executive Vice President, Burke Magnus, to
 6   NFL employee Brain Rolapp. This exhibit concerns ESPN’s bid for various
 7   packages of NFL games, including NFL Sunday Ticket. The NFL only objected to
 8   this exhibit on hearsay grounds. This document is not offered for the truth of the
 9   matter asserted but rather for “the fact that [ESPN’s statements] were made.” See
10   Fed. R. Evid. 801, Notes to Subdivision (c). See also Am. Fed’n of Musicians of
11   U.S. & Canada v. Paramount Pictures Corp., 903 F.3d 968, 976 (9th Cir. 2018)
12   (statement in email “admissible as verbal acts evidence” to “show that Kohan called
13   Paramount to inquire about the hiring of scoring musicians”). This document is also
14   offered to show: (1)
15

16

17                                                               . See, e.g., Emich Motors
18   Corp. v. General Motors Corp., 181 F.2d 70, 82 (7th Cir. 1950), rev’ on other
19   grounds, 340 U.S. 558 (1951) (agreeing that, under “a well-established exception to
20   the hearsay rule,” letters of complaint from customers “should have been admitted .
21   . . to show the information on which [defendants] acted”). This exhibit is relevant to
22   refute the NFL’s claim that it believed a college-football like model for
23   broadcasting games was infeasible.
24   F.    TX870: Sports Media Watch Article
25         This article, showing college football TV ratings from 2021, was objected to
26   by Defendants on hearsay and foundation grounds. The foundation requirement is
27   satisfied because Dr. Rascher testified that the article was gathered by his staff in
28   the course of preparing his opinions in this case. See June 12, 2024 Trial Transcript

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 1   at 961:23–25. Experts may rely on hearsay evidence in support of their opinions,
 2   and such evidence is admissible under Rule 703 to explain the basis of the expert’s
 3   opinion. See Paddack v. Dave Christiansen, Inc., 745 F.2d 1254, 1262 (9th Cir.
 4   1984) (admitting hearsay evidence “upon which an expert properly relie[d]” with
 5   instruction that “the hearsay evidence is to be considered solely as a basis for the
 6   expert opinion and not as substantive evidence”). This exhibit also falls under the
 7   “Market Reports and Similar Commercial Publications” exception to the hearsay
 8   rule. See Fed. R. Evid. 803(17).
 9                                      *      *     *
10         For these reasons, Plaintiffs respectfully request that the Court admit the
11   exhibits used with Dr. Rascher during his trial testimony.
12

13

14   Dated: June 16, 2024                   Respectfully submitted,
15
                                            By: /s/ Marc M. Seltzer
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17
                                            Marc M. Seltzer (54534)
                                            mseltzer@susmangodfrey.com
18
                                            Kalpana Srinivasan (237460)
                                            ksrinivasan@susmangodfrey.com
19
                                            Amanda Bonn (270891)
                                            abonn@susmangodfrey.com
20
                                            Eliza Finley (301318)
                                            efinley@susmangodfrey.com
21
                                            SUSMAN GODFREY L.L.P.
                                            1900 Avenue of the Stars, Suite 1400
22
                                            Los Angeles, CA 90067
                                            Tel: (310) 789-3100
23
                                            Fax: (310) 789-3150

24
                                            William C. Carmody (Pro Hac Vice)
                                            bcarmody@susmangodfrey.com
25
                                            Seth Ard (Pro Hac Vice)
                                            sard@susmangodfrey.com
26
                                            Tyler Finn (Pro Hac Vice)
                                            tfinn@susmangodfrey.com
27
                                            SUSMAN GODFREY L.L.P
                                            1301 Avenue of the Americas, 32nd Fl.
28
                                            New York, NY 10019
                                            Tel: (212) 336-8330
                                            Fax: (212) 336-8340
                                               6
Case 2:15-ml-02668-PSG-SK Document 1416-1 Filed 06/16/24 Page 8 of 8 Page ID
                                #:52562


 1                                     Ian M. Gore (Pro Hac Vice)
                                       igore@susmangodfrey.com
 2                                     SUSMAN GODFREY L.L.P.
                                       401 Union Street, Suite 3000
 3                                     Seattle, WA 98101
                                       Tel: (206) 505-3841
 4                                     Fax: (206) 516-3883
 5                                     Scott Martin (Pro Hac Vice)
                                       smartin@hausfeld.com
 6                                     HAUSFELD LLP
                                       33 Whitehall Street, 14th Floor
 7                                     New York, NY 10004
                                       Tel: (646) 357-1100
 8                                     Fax: (212) 202-4322
 9                                     Christopher L. Lebsock (184546)
                                       clebsock@hausfeld.com
10                                     Samuel Maida (333835)
                                       smaida@hausfeld.com
11                                     HAUSFELD LLP
                                       600 Montgomery St., Suite 3200
12                                     San Francisco, CA 94111
                                       Tel: (415) 633-1908
13                                     Fax: (415) 633-4980
14                                     Sathya S. Gosselin (269171)
                                       sgosselin@hausfeld.com
15                                     Farhad Mirzadeh (Pro Hac Vice)
                                       fmirzadeh@hausfeld.com
16                                     HAUSFELD LLP
                                       888 16th Street, N.W., Suite 300
17                                     Washington, DC 20006
                                       Tel: (202) 540-7200
18                                     Fax: (202) 540-7201
19                                     Howard Langer (Pro Hac Vice)
                                       hlanger@langergrogan.com
20                                     Edward Diver (Pro Hac Vice)
                                       ndiver@langergrogan.com
21                                     Peter Leckman (235721)
                                       pleckman@langergrogan.com
22                                     Kevin Trainer (Pro Hac Vice)
                                       ktrainer@langergrogan.com
23                                     LANGER GROGAN AND DIVER PC
                                       1717 Arch Street, Suite 4020
24                                     Philadelphia, PA 19103
                                       Tel: (215) 320-5660
25                                     Fax: (215) 320-5703
26
                                       Plaintiffs’ Co-Lead Counsel
27

28

                                           7
